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5    Attorney for Defendant
     BALKAR SINGH
6

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8
                                     UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           No. 13-CR-006 MCE
12
                        Plaintiff,                       STIPULATION AND ORDER FOR
13                                                       CONTINUANCE OF SENTENCE AND
            v.                                           SCHEDULE FOR DICLOSURE
14
     BALKAR SINGH,
15

16                      Defendant.
17

18
            IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Assistant United States Attorney Jarad Dolan, defendant BALKAR SINGH through his
20
     undersigned counsel Dwight Samuel, and defendant HARVINDER KAUER through her
21
     undersigned counsel Michael Bigelow that the scheduled sentencing date and schedule for
22

23   dates be changed to the following:

24          Judgement and sentencing date be changed from August 13, 2015 to October 8, 2015.
25          Probation officer Lisa Hage has been contacted and also agrees to the new sentencing date
26
     and the following schedule for disclosure of pre-sentence report and for filing of objections to the
27
     presentence report it is agreed to be as follows:
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                                                           1
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1           Reply or statement of non-opposition                                October 1, 2015
2           Motion for correction of Pre-Sentence report filed                  September 24, 2015
3
            Pre-Sentence report filed                                           September 17, 2015
4
            Counsel’s written objections to the pre-sentence to probation       September 3, 2015
5
            Proposed Pre-sentence report disclosed to counsel                   August 20, 2015
6

7           This stipulation is made because the proposed presentence report is not yet

8    completed. In addition Mr. Bigelow is in trial.

9           Accordingly, the parties respectfully request the Court adopt this proposed stipulation, vacate
10
     the present date for sentence of August 13, 2015 and adopt the above enumerated shedule for
11
     disclosure and response to the Pre-sentence report with sentencing reset to October 8, 2015.
12

13          So stipulated,

14
            Date: July 1, 2015                                    /s/ Dwight M. Samuel
15                                                               Dwight M. Samuel
                                                                 Attorney for Defendant
16
                                                                    Balkar Singh
17
            Date: July 1, 2015                                    /s/ Michael Bigelow authorized 7-1-15
18                                                               Dwight M. Samuel
                                                                 Attorney for Defendant
19                                                                  Balkar Singh
20
            Date: July 1, 2015                                   /s/ Paul Hemesath authorized 7-1-15
21                                                               Assistant U.S. Attorney
                                                                 Paul Hemesath
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         Case 2:13-cr-00006-MCE Document 209 Filed 07/06/15 Page 3 of 3


 1                                                   ORDER
 2

 3          The Court, having received, read, and considered the stipulation of the parties, and good

 4   cause appearing therefrom, adopts the stipulation of the parties in its entirety and it is so order

 5          Based on the stipulation of the parties and the recitation of facts contained therein, the Court
 6   finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
 7
     necessary for effective preparation, taking into account the exercise of due diligence. The Court finds
 8
     that the ends of justice to be served by granting the requested continuance outweigh the best interests
 9
     of the public and the defendants in a speedy trial.
10

11          It is further ordered that the August 13, 2015 date for sentencing is continued to October 8,

12   2015, at 9:00 a.m.

13          IT IS SO ORDERED.
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     Dated: July 6, 2015
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